     Case 22-11792-SLM          Doc 14    Filed 05/12/22 Entered 05/12/22 15:37:41               Desc Main
                                          Document Page 1 of 2

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Chapter 13 Standing Trustee
30 TWO BRIDGES ROAD                                                      Order Filed on May 12, 2022
SUITE 330                                                                by Clerk,
FAIRFIELD, NJ 07004-1550                                                 U.S. Bankruptcy Court
                                                                         District of New Jersey
973-227-2840

                                                           Case No.: 22-11792 SLM
IN RE:
  S. MUHAMMAD MAKIL                                        Hearing Date: 5/11/2022

                                                           Judge: STACEY L. MEISEL


                                                           Debtor is Entitled To Discharge

                                         ORDER CONFIRMING PLAN

  The relief set forth on the following pages, numbered 2 through 2 is hereby ORDERED.




     DATED: May 12, 2022
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 Debtor(s): S. MUHAMMAD MAKIL                   Document Page 2 of 2

 Case No.: 22-11792 SLM
 Caption of Order:     ORDER CONFIRMING PLAN

        The Plan of the Debtor having been proposed to creditors, and hearing having been held on the Confirmation
of such Plan, and it appearing that the applicable provisions of the Bankruptcy Code have been complied with ; and for
good cause shown, it is
    ORDERED, that the plan of the above named Debtor dated 4/5/2022, or as amended at the confirmation hearing
    is hereby confirmed. The Standing Trustee shall make payments in accordance with 11 U.S.C. § 1326 with funds
    received from the Debtor; and it is further
    ORDERED, that to the extent that the Debtor’s plan contains motions to avoid judicial liens under 11 U .S.C.
    Section 522(f) and/or to avoid liens and reclassify claims in whole or in part, such motions are hereby granted,
    except as specified herein:
    ORDERED, that commencing 4/1/2022, the Debtor shall pay the Standing Trustee
        the sum of $288.61 for a period of 60 month(s), which payments shall include commission and expenses of
        the Standing Trustee in accordance with 28 U.S.C. § 586; and it is further
    ORDERED, that notwithstanding the preceding paragraph, in no event shall the unsecured creditors receive less
    than 100% of their timely filed claims; and it is further
    ORDERED, that the Debtor's attorney is allowed a fee of $4,750.00. The unpaid balance of the allowed fee in
    the amount of $3,000.00 shall be paid to said attorney through the Chapter 13 plan by the Standing Trustee ; and
    it is further
    ORDERED, that upon completion of the plan, affected secured creditors shall take all steps necessary to remove
    of record any lien or portion of any discharged; and it is further

     ORDERED, that upon expiration of the Deadline to File a Proof of Claim, the Chapter 13 Standing Trustee may
     submit an Amended Order Confirming Plan upon notice to the Debtor, Debtor's attorney and any other party
     filing a Notice of Appearance.
